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  1                       UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK
  2

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        UNITED STATES OF AMERICA,
  4                                    :           CR-04-911
                                                   (JS)
  5             -against-                    :   United States Courthouse
                                                 Central Islip, New York
  6     ALPHONSE PERSICO, JOHN DEROSS,
                                       :         June 16, 2008
  7                     Defendants.              10:10 a.m.
        -------------------------------X
  8
                            TRANSCRIPT OF ORAL ARGUMENT
  9                         BEFORE THE HONORABLE JOANNA SEYBERT
                            UNITED STATES DISTRICT COURT JUDGE
 10

 11     APPEARANCES:

 12     For the Government:            ROSLYNN MAUSKOPF, ESQ.
                                       UNITED STATES ATTORNEY
 13                                         BY: JEFFREY GOLDBERG, AUSA
                                       One Pierrepont Plaza
 14                                    Brooklyn, New York 11201

 15

 16     For the Defendants:            SARITA KEDIA, ESQ.
                                       For Deft A. Persico
 17                                    (Not Present).

 18                                    ROBERT LA RUSSO, ESQ.
                                       For Deft J. DeRoss
 19

 20

 21
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 24
                     Proceedings recorded by mechanical stenography.
 25                          Transcript produced by CAT.


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                           US District Court Reporter
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  1                 THE CLERK:    For oral argument or hearing, US v

  2     Alphonse Persico and John DeRoss.

  3                 Please state your appearances.

  4                 MR. GOLDBERG:     Jeffrey Goldberg for the

  5     government.

  6                 Good morning, your Honor.

  7                 THE COURT:    Good morning, Mr. Goldberg.

  8                 It might not be.     We'll see.

  9                 MS. KEDIA:    Good morning, your Honor.       Sarita

 10     Kedia for Mr. Persico, and your Honor has waived

 11     Mr. Persico's appearance.

 12                 THE COURT:    I have, and you have gotten

 13     communication from your client saying he waived his

 14     appearance here and he did it in writing?

 15                 MS. KEDIA:    He did not, but I certainly can

 16     submit a letter.

 17                 THE COURT:    If you would so the record is

 18     complete.

 19                 MS. KEDIA:    Absolutely.

 20                 MR. LA RUSSO:     And Robert LaRusso for

 21     Mr. DeRoss.

 22                 Good morning, your Honor.

 23                 THE COURT:    Good morning, Mr. LaRusso, and

 24     Mr. DeRoss.

 25                 Well, having been advised that there were


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  1     several witnesses who had been subpoenaed.          Mr. LaRusso,

  2     you had presented those subpoenas and also Ms. Kedia, I

  3     think you had also done that.

  4                  I was rather shocked when I came in this morning

  5     to learn that the government has chosen not to produce

  6     these people.     You had six days' notice, Mr. Goldberg, to

  7     get them in.     You never raised any of these Toughy or the

  8     federal rights requiring certain things be done when

  9     Mr. LaRusso spoke to you.

 10                  MR. GOLDBERG:    I actually did, your Honor.

 11                  THE COURT:   When did you do that?

 12                  MR. GOLDBERG:    Mr. LaRusso is mistaken on that

 13     point.

 14                  When he e-mailed me the next day I called him

 15     and told him we had a question whether in fact this was an

 16     evidentiary hearing.      We are past that.

 17                  I also told him that I was informed that at

 18     least one of the witnesses, Ms. Mayer, would be out of the

 19     D.C. area.    She's now in Washington, D.C. in main justice

 20     and I said we also had the Toughy issue.          I don't know if

 21     he remembers that, but I did say it.

 22                  It's not like I mentioned this for the first

 23     time on Saturday.      I did mention it beforehand.

 24                  THE COURT:   Mr. LaRusso, you remember one way or

 25     the other on this?


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  1                 MR. LA RUSSO:     Again, I know Mr. Goldberg and I

  2     know he wouldn't make a misrepresentation.

  3                 I don't remember it, Judge, to be very honest

  4     with you.    There was a lot being discussed at that time.

  5                 The telephone conversation we had was primarily

  6     concerning whether or not a hearing was going to be taking

  7     place, and we discussed the necessity of witnesses.            I

  8     also indicated, I believe there was a voice mail follow-up

  9     that we also were going to press for any documentation

 10     that may relate to any of the issues that would be very

 11     relevant during the course of the hearing.

 12                 But I think it comes down to this, very simply,

 13     Judge; this idea of Toughy is really a mask for what

 14     really happens.     These witnesses, primarily Gary

 15     Pontecorvo and Amy Walsh are really the two critical

 16     witnesses on one of the issues.

 17                 We never had a problem in terms of producing

 18     government witnesses before.

 19                 MS. KEDIA:    Your Honor, if I may just add

 20     because I'm the one who subpoenaed Ms. Walsh.

 21                 Certainly no issue was raised with me regarding

 22     Toughy regulations.      I never received a phone call from

 23     Mr. Goldberg after I subpoenaed Ms. Walsh.          I served her

 24     directly and she indicated she would accept service of the

 25     subpoena.


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  1                 That's the last I heard of her telling me she

  2     was unavailable between 11 and 2.

  3                 MR. GOLDBERG:     Your Honor, so we are clear on

  4     this, in Mr. LaRusso's defense, most of the conversation

  5     that we had was about the question of whether this was a

  6     hearing on the motions or an evidentiary hearing.            And

  7     although I'm certain I mentioned the Toughy regulations,

  8     it wasn't a primary focus of our conversation.

  9                 So the record is clear, I told Mr. LaRusso what

 10     I think we should do to clarify the hearing issue is to

 11     have a conference call with the court, with Ms. Kedia, and

 12     simply ask the questions if it's the court's intention to

 13     have an evidentiary hearing or a hearing on the motions.

 14                 Mr. LaRusso called me back an hour later and

 15     said I have spoken with Ms. Kedia.         She doesn't want to

 16     call the court.

 17                 MR. LA RUSSO:     It wasn't a matter of I don't

 18     want to call the court.

 19                 It was a decision made by both counsel that it

 20     was pretty clear when we look at your order that a hearing

 21     was had on the issues relative to the Rule 33.

 22                 When I was doing in my voice mail, I was

 23     advising Mr. Goldberg of our present status, that we

 24     wanted to call the witnesses.        We understand they might

 25     not be available.      So we are not going to yell and scream


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  1     that they are not going to be here.         If they are not

  2     available, they are not available.

  3                 But we also wanted to discuss the question of

  4     documentation on the issue of the $1.65 million.           Is there

  5     any record, whatsoever, that was the purpose of calling

  6     him back to let him know we are going forward with the

  7     hearing and we would like to at least discuss with the

  8     court the documentation.

  9                 Granted, we had no control over the witness's

 10     schedule.    As a matter of fact, I even mentioned on the

 11     call, I believe, that Ms. Mayer is not necessary, having

 12     gone through the documentation a little closer, we have

 13     narrowed it down to the two witnesses being Mr. Pontecorvo

 14     and Amy Walsh.

 15                 I believe that was part of the voice mail as

 16     well.

 17                 MR. GOLDBERG:     I think, your Honor, we are

 18     prepared to get past the Toughy issue, and this is why.

 19                 When this issue was first raised by the defense

 20     in a Rule 33 motion, the trial assistants who are still in

 21     Brooklyn, Mr. Buretta and I, started looking into it.

 22     Certainly neither of the two of us were aware of those

 23     issues prior to the trial.

 24                 THE COURT:    What issues are we talking about?

 25                 MR. GOLDBERG:     The issues of whether the


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  1     government was aware about the forfeiture/tax issue and

  2     failed to disclose that to the defense prior to trial.

  3                 We looked into it.      I spoke briefly with

  4     Ms. Walsh only after she was contacted by Ms. Kedia, and I

  5     raised the issue with Ms. Kedia just before this court

  6     appearance and said, you know, we would probably be

  7     willing to stipulate that the government was aware that

  8     Peggy Cutolo was not required to pay tax on the money and

  9     the defense was not informed of that fact before the trial

 10     which, in my mind, based on the motion papers filed would

 11     completely obviate the need for an evidentiary hearing.

 12                 In fact, Mr. LaRusso in his letter of yesterday,

 13     the last sentence says, quote, in the event that the

 14     government concedes that if the defense was not told about

 15     the $1.65 million, it may be that the witnesses', plural,

 16     the witnesses' testimony is not necessary.

 17                 We are not trying to make an issue of Toughy,

 18     but Toughy exists for a purpose, and that is to make sure

 19     that Department of Justice employees permitted to testify

 20     or give an affidavit or documents relating to the

 21     performance of their own duties.

 22                 So for the purposes of this argument, your

 23     Honor, and perhaps to obviate the need entirely on an

 24     evidentiary hearing, we are prepared to stipulate that the

 25     defense was not told about the forfeiture/tax issue prior


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  1     to Peggy Cutolo's testimony.

  2                 THE DEFENDANT:     And the government knew about

  3     the forfeiture/tax issue?

  4                 MR. GOLDBERG:     And when I say the government,

  5     I'm cognizant of the fact that the trial assistants in

  6     this case are charged with the knowledge of prior

  7     assistants' knowledge.

  8                 So I don't mean to suggest that Mr. Buretta,

  9     Ms. Mayer, or I had any knowledge of the forfeiture/tax

 10     issue personally and somehow intentionally withheld it or

 11     suppressed it.     But I am prepared to stipulate way back

 12     when a decision was made by the US Attorney's Office to

 13     not require Ms. Cutolo to forfeit or pay tax on that

 14     money.

 15                 THE COURT:    And do you know when that was made?

 16                 Is there any documentation who made the

 17     decision?

 18                 MR. GOLDBERG:     Well, Ms. Walsh was the primary

 19     assistant on these matters, I believe, and she hasn't been

 20     in the office for at least a year.         I was almost going to

 21     say two years, but I know at least a year.

 22                 I think she would have been involved in that

 23     decision.    But there are legal arguments we had within the

 24     context of Rule 33 as to why all of this is a complete red

 25     herring, mainly that the defense made effective use of the


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  1     information and overall it's immaterial.

  2                 I assume we'll get to those arguments, but I

  3     wanted to alert the court.

  4                 MR. LA RUSSO:     Your Honor, I'm a little shocked,

  5     and I almost feel like they are trying to sweep a very

  6     critical issue under the rug here.

  7                 We have two witnesses who testified at a murder

  8     trial that $1.65 million of illegal proceeds were taken by

  9     Mrs. Cutolo, and used for her own family.          She said that

 10     she told the government, she mentions an agent's name, and

 11     she mentions an assistant's name.         $1.65 million.

 12                 We know from one of the agents who testified

 13     that during the process before she left the New York area,

 14     and including the period of time she was in the safe

 15     house, no mention was ever made of that money, whatsoever.

 16     So a critical issue was whether she had perjured herself

 17     in regards to that before the jury.

 18                 Now, Mr. Pontecorvo, the case agent gets on the

 19     stand, and he attempts to provide corroborative

 20     information to this jury to lead them to believe that

 21     Peggy Cutolo was telling the truth.         So he says, yes.     I

 22     learned about the money.

 23                 He tiptoes.    He says I might have learned it

 24     either before we left the New York area, or at the safe

 25     house.   But, yes.     I talked to her about it and I saw the


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   1     money.   He had the nerve to say that $1.65 million in

   2     illegal proceeds he never, ever wrote a 302 or made any

   3     notes.   But what he did say, he said he spoke to somebody

   4     in the US Attorney's Office.

   5                Judge, not only did Peggy Cutolo lie, but

   6     Agent Pontecorvo has stretched the truth.          What the

   7     government is attempting to do here is to turn this into a

   8     tax issue, into a matter of credibility, an impeachment

   9     issue, as opposed to the heart of this whole hearing that

 10      we are trying to get at.

 11                 Who in the government was told about this money,

 12      and who in the government made a decision that

 13      $1.65 million of illegal proceeds were going to be kept by

 14      the Cutolo family?     It's outrageous to walk in here, and

 15      to actually say to us, that it's a tax issue.          All we

 16      asked for, and what we attempted to do is to find out who

 17      in the government would have authorized her to keep

 18      $1.65 million, and Mr. Goldberg comes in here and tells us

 19      they don't know?

 20                 There's not a shred of evidence, documentary

 21      proof regarding a decision that would be made by a

 22      supervisor, more than likely the US Attorney himself or

 23      maybe somebody from the IRS, and we have nothing?             I'm

 24      sorry, Judge.    I'm passionate about this.        I apologize for

 25      raising my voice, but I don't think we should be sweeping


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   1     this issue under the rug.

   2                Because I think we know that this whole case

   3     hinged on the credibility of these witnesses and if an

   4     agent deliberately lied during the course of this trial to

   5     back up a critical witness in this case, there's no doubt

   6     about the result.     The government has an obligation, when

   7     faced with these facts, to do justice, to interview the

   8     witnesses, to determine whether or not perjury had

   9     actually occurred.

 10                 I even think the court during the charge talked

 11      about the government looked into the possibility of

 12      bringing a complaint of perjury against Mr. Floridia and

 13      Peggy Cutolo.    I'm sure it's the furthest thing from their

 14      mind, and after having spent so much time in this

 15      courtroom and have the government come and give this type

 16      of an argument is very disconcerting and that's the

 17      concern I have.

 18                 Judge, we should be putting this issue to rest.

 19      We should be calling Amy Walsh.        We should be calling

 20      Agent Pontecorvo.     We should be making a determination

 21      whether in fact he lied because the evidence is leading

 22      right to that point and unfortunately it's also leading to

 23      the point, Judge, that somebody's attempting to cover it

 24      up in the government and that's also a very disheartening

 25      matter.


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   1                 So I ask the court to seriously consider setting

   2     this down for a hearing and calling the necessary

   3     witnesses and that's the position I'm taking.

   4                 THE COURT:    Ms. Kedia, do you have something to

   5     add?

   6                 MS. KEDIA:    Yes, your Honor.     Thank you.

   7                 With respect to Ms. Walsh, it's very telling

   8     that Mr. Goldberg says she may have been the person who

   9     was told.    He has spoken to Ms. Walsh this week on this

 10      issue.   I explained to Ms. Walsh exactly what the issue

 11      was.

 12                  And I can tell your Honor she seemed very

 13      surprised to hear about $1.65 million that Peggy Cutolo

 14      was permitted to keep.      She wouldn't directly respond to

 15      my questions.    She said she would like to speak to

 16      Mr. Goldberg, understandably so, and I expected that to be

 17      her response having been a former assistant in the

 18      US Attorney's Office.

 19                  However, it does not seem to me she knew about

 20      this $1.65 million or that she made any decision to allow

 21      Ms. Cutolo to keep it.      If she did so, then the question

 22      becomes when, exactly, was the decision made.          Was there a

 23      deal struck that Peggy Cutolo would come in and testify if

 24      the government allowed her to keep this money?

 25                  We have one of two issues here.        We either have


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   1     the cover-up that Mr. LaRusso just spoke of, in which case

   2     the government didn't know about the $1.65 million until

   3     this trial, which I think seems to be the case based on

   4     the nature of the witness's testimony.         Or we have,

   5     unquestionably, a Brady violation and then the question

   6     is, exactly what is the Brady violation?

   7                Where are the documents that would support the

   8     government's position that it was told about $1.65

   9     million?   There is no way.      You can't be an assistant in

 10      the US Attorney's Office and sneeze without going to your

 11      supervisor.     So the idea that some assistant made the

 12      decision to allow Peggy Cutolo to keep $1.65 million

 13      without getting it approved through the ranks and there

 14      being documents on this is absurd.

 15                 So in the first instance, where is the

 16      documentation?     If there isn't any that exists, I think we

 17      can assume that no one in the US Attorneys Office was

 18      told, and in the event that Amy Walsh wants to come in and

 19      says she was told, we need a hearing.

 20                 Mr. Goldberg also misreads the letter he cited

 21      to the court.    The defense position is that if the

 22      government wants to concede that it, meaning the

 23      government, wasn't told about the $1.65 million, then

 24      there may not be any need for a hearing.         If, in fact, it

 25      wasn't told, it wasn't told.


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   1                We don't need Amy Walsh to come in here and say

   2     it wasn't told.

   3                THE COURT:     How could they possibly say that,

   4     Ms. Kedia, when you have Agent Pontecorvo on the stand

   5     saying they knew about it at sometime?

   6                What does that get you?

   7                MR. GOLDBERG:     And that he told the

   8     US Attorney's Office.

   9                THE COURT:     Yes.

 10                 MS. KEDIA:     So who is it --

 11                 THE COURT:     They can't possibly stipulate to

 12      that unless they believe that Agent Pontecorvo committed

 13      perjury.

 14                 MS. KEDIA:     I understand that, your Honor, and

 15      that's exactly why we asked for the hearing and that's

 16      exactly why we asked for the testimony of these witnesses.

 17                 Who was it that was told?        When were they told?

 18      What, exactly, was the nature of the deal that was made

 19      with the Cutolo family?      What is the story here?

 20                 That is an obligation that the government has to

 21      reveal that to the defense, and based on that, the court

 22      can make a determination whether the defense had

 23      sufficient information at that time or not.

 24                 But without revealing exactly what the story

 25      was, who was told, and under what circumstances precisely,


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   1     there can be no determination made, and a hearing is

   2     necessary.

   3                  THE COURT:   Let me ask you this, Ms. Kedia.

   4                  How is this information, Mrs. Cutolo keeping

   5     $1.65 million, how is that, one, exculpatory, and what is

   6     the material difference that that made to the defense?

   7                  MS. KEDIA:   The fact she was permitted to keep

   8     it?

   9                  THE COURT:   Yes.

 10                   I mean, you found out about it on

 11      cross-examination, fair to say?

 12                   MS. KEDIA:   That's fair to say.

 13                   THE COURT:   And you made very effective use of

 14      it during your cross-examination with Mrs. Cutolo.

 15                   MS. KEDIA:   Well, I have two things that I could

 16      say off the top of my head with respect to that.

 17                   THE COURT:   All right.

 18                   MS. KEDIA:   One is we opened on the fact that

 19      William Cutolo had $2.7 million in racketeering proceeds

 20      that was missing.

 21                   So then to learn during the course of the trial

 22      that the family actually had $1.65 million, that's too

 23      little too late, Judge.      That's not something we should

 24      have to stumble upon during cross-examination.

 25                   It certainly impacts the manner in which we


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   1     cross-examine witnesses and it certainly impacts our tact

   2     that we take when we open to the jury and begin this case.

   3     So there is no question that the government's failure to

   4     reveal this information was material.

   5                Secondly, if there was a deal made with

   6     Mrs. Cutolo about whether she would come testify in the

   7     event that she was allowed to keep this money, if, in

   8     fact, she was not willing to testify, or speak to the

   9     government, if she wasn't allowed to keep this money,

 10      those are critical facts.       If she wouldn't have attended

 11      that proffer session unless she had the agreement from the

 12      government, I can keep this money, that is a critical fact

 13      that the defense must be permitted to know.

 14                 THE COURT:     Mr. Goldberg.

 15                 MR. GOLDBERG:     Your Honor, first of all, on the

 16      opening statement I think Ms. Kedia's opening statement

 17      was about five hours long, and I'm sure that minor point,

 18      even if there is some relevance to it was lost on the

 19      jury.

 20                 Second of all, during her entire summation,

 21      which was extremely long, she never once made mention of

 22      Peggy Cutolo's ability to keep or not pay taxes on this

 23      money.   I wrote this in my papers.       If it was so relevant,

 24      she would have made much of it during her argument.

 25                 When the government confers a benefit on a


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   1     witness, it's not required to produce all the witnesses

   2     who were part of the decision to confer that benefit.

   3     When the government gives money to a cooperating witness

   4     for relocation, for example, it's not required to call in

   5     the US Marshal's Service to testify about what went into

   6     making that decision.

   7                A benefit was apparently conferred on

   8     Peggy Cutolo.    That benefit was that she was not -- she

   9     was allowed, rather, to keep the money and not pay taxes

 10      on it.   Ms. Kedia had that information.        Mr. LaRusso had

 11      that information during the entire trial.

 12                 You will recall, she was one of the first

 13      witnesses to testify.      They were able to make effective

 14      use of it, and in Rittweger, R-I-T-T-W-E-G-E-R, there is a

 15      great example of this.

 16                 In Rittweger, the government made an untimely

 17      disclosure of prior grand jury testimony and some

 18      debriefing notes, and the Second Circuit held there was no

 19      Brady violation whatsoever because, quote, first and

 20      foremost, end quote, the defense had the information, and

 21      was able to make use of it.       It went before the jury.

 22                 That's the exact same situation we have here.

 23      What the defense is trying to do is, they are trying to

 24      seize upon the government's, I don't want to say failure,

 25      because there was no intentional withholding here, but the


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   1     fact the defense did not have that information, to have

   2     some sort of blown up evidentiary hearing and call in all

   3     the witnesses that were involved in conferring that

   4     benefit, it's not necessary.

   5                  We are prepared to concede that the defense

   6     should have been told about that information but they

   7     weren't.   But the bottom line is under Gill and the cases

   8     that follow there's no Brady violation here because they

   9     made effective use and it's immaterial.

 10                   THE COURT:   Isn't there a Giglio violation?

 11                   MR. GOLDBERG:    That's what it is, at best.

 12                   It's not a Brady violation.      It's a Giglio

 13      violation.    And Mr. LaRusso's argument confuses me,

 14      because in the beginning of his long colloquy, he says

 15      it's not about credibility, but in the end he says this is

 16      all about credibility.       And the cases are very clear that

 17      if the Giglio information merely provides an additional

 18      basis for challenging the credibility of the witness, it

 19      can't be material.

 20                   We put in our papers, and we explained that

 21      Ms. Kedia and Mr. LaRusso spent a large part of their

 22      summations attacking the credibility of Ms. Cutolo on

 23      various bases.     What more would the forfeiture/tax issue

 24      have given them and, more importantly, they had it.

 25                   They obviously didn't think it was so important.


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   1     They didn't use it.

   2                  MR. LA RUSSO:   Your Honor, just briefly.

   3                  Let me see if I can bring the government back to

   4     the issue we are actually raising.

   5                  The $1.65 million first came out during

   6     Barbara-Jean Cardinale's cross-examination by Ms. Kedia

   7     and I believe Mr. Goldberg now admitted probably the first

   8     time he or Ms. Mayer or Mr. Buretta ever heard about it

   9     and certainly the defense ever heard about it.          And we

 10      know Peggy Cutolo's testimony about the $1.65.          I won't

 11      review it.    The court knows our position with regards to

 12      it.

 13                   But what happens is now Gary Pontecorvo takes

 14      the stand and here is a case agent in the stand who says,

 15      in fact, he had a conversation with Peggy.          He actually

 16      saw the money in a suitcase.

 17                   Let me tell you, it stretches one's imagination

 18      to believe that a case agent, who is well aware of his

 19      obligations, is not going to notify his own supervisors.

 20      Clearly he's notifying the US Attorney's Office and you

 21      are going to see some kind of report prepared.

 22                   And all we get, Judge, is some assistant must

 23      have been told.     We have oral testimony which I suggest to

 24      the court stretches the imagination, the believability.

 25      What we have, Judge, are these general statements that


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   1     somebody must have been told.

   2                It comes pretty close, Judge, to the fact that

   3     nobody was told, that Mr. Pontecorvo first made that

   4     testimony up here to back up Peggy Cutolo.          That's the

   5     worst situation, and what we are trying to do, Judge, is

   6     to make a determination, based upon the facts, whether, in

   7     fact, perjury actually occurred during the course of this

   8     trial, not whether it's a Brady or Giglio violation in the

   9     sense that Mr. Goldberg is saying.        But in terms of a case

 10      agent committing perjury during the course of the trial to

 11      try to provide credibility for a critical witness in this

 12      case.

 13                 And, Judge, you have been a judge in many

 14      criminal cases and where issues like this arise, there's

 15      documentation; there are reports; there are notes.

 16      There's no question you would know who you discussed this

 17      $1.65 million with that doesn't belong to the Cutolo

 18      family.   That's illegal proceeds.       That's forfeitable

 19      assets.   That's not a decision an agent or even an

 20      assistant can make.

 21                 That's a decision that has to be made higher up,

 22      and to come in here and say we don't know who was told in

 23      the US Attorney's Office, and we still haven't heard,

 24      Judge, whether there's any documentation, whatsoever,

 25      existing to support the government's claim that this must


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   1     have been told to the United States Attorney.

   2                I suggest to the court that there is a clear

   3     indication that it didn't happen the way the government

   4     says, and if a case agent lies during the course of this

   5     trial, we are in a totally different situation.           That's

   6     the point that we are making, or I am making on behalf of

   7     Mr. DeRoss, your Honor.

   8                MR. GOLDBERG:     And, your Honor --

   9                MS. KEDIA:     Your Honor --

 10                 MR. GOLDBERG:     This is a very straightforward

 11      issue.

 12                 Peggy Cutolo testified, I believe, that she told

 13      the government about the money.        Gary Pontecorvo, who was

 14      called by the defense, says, yes.        I was told by

 15      Peggy Cutolo about the money and I told the US Attorney's

 16      Office.   The defense wants to confirm that fact through an

 17      evidentiary hearing.

 18                 We are prepared to stipulate to the fact that

 19      someone in the US Attorney's Office, probably Ms. Walsh,

 20      and the only reason I'm hedging on that is because,

 21      despite what Ms. Kedia says, I haven't had extensive

 22      conversations with Ms. Walsh about this --

 23                 THE COURT:     Mr. Goldberg, you are telling me you

 24      never said to Ms. Walsh, do you remember this issue about

 25      the money with Peggy Cutolo?


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   1                MR. GOLDBERG:     I did.

   2                THE COURT:     Do you know who authorized it?        When

   3     did you first learn it?

   4                You never asked her questions like that?

   5                MR. GOLDBERG:     I didn't go through a detailed

   6     recitation of the time line.

   7                I did, of course, say, do you recall ever, you

   8     know, making decisions about that, and she generally said,

   9     yeah.   A decision was made.      I have a recollection of

 10      that.

 11                 I'm only couching what I'm saying because I

 12      don't want to be later put in a brief as admitting to a

 13      fact that I'm not certain about.        There's really nothing

 14      here.   There's no evidence, whatsoever, that

 15      Agent Pontecorvo testified untruthfully about that fact.

 16                 But, in any event, I don't want to lose sight of

 17      the larger point here.      It's completely immaterial and

 18      irrelevant under Rule 33, and I have made my argument

 19      about that and will rely on the papers.

 20                 THE COURT:     Yes.

 21                 MS. KEDIA:     Your Honor, with respect to what

 22      Mr. Goldberg just said, can we find out what was actually

 23      said?

 24                 He says on behalf of the government, I don't

 25      want to make any misrepresentations for them to be cited


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   1     in a brief.    Well, what is the true story?        Mrs. Cutolo

   2     didn't just get up on the stand and testify she told

   3     agents.

   4                She said at a proffer session, she only had two,

   5     one was in February of 2001, and the other wasn't until

   6     after the trial in the first case of 2006, she said the

   7     proffer session in February of 2001, she informed the

   8     government of the $1.65 million.

   9                We have notes from those proffer sessions.

 10                 THE COURT:     It's not mentioned.

 11                 MS. KEDIA:     Of course it's not mentioned.

 12                 The agent who took the notes at the proffer

 13      session says she has absolutely no recollection of hearing

 14      about $1.65 million.      Was Ms. Walsh told at the proffer

 15      session or was she told before the proffer session or

 16      after the proffer session and what exactly was done here?

 17      What is it that the government agreed to do?

 18                 Simply to allow this woman if, in fact,

 19      Ms. Walsh was told and, again, without having her here or

 20      an affidavit from her saying, yes, I was told and I made

 21      this decision and here's how I went about making it, what

 22      was the decision that was made?

 23                 Was it, Mrs. Cutolo, if you come in and talk to

 24      us, then we will consider allowing you to keep this $1.65

 25      million that I have heard about now from Agent Pontecorvo?


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   1     Or was it something else?

   2                 MR. GOLDBERG:    Again, Judge, what's the point?

   3     What's the end game here?

   4                 Let's assume, for the sake of argument, that

   5     Agent Pontecorvo tells Ms. Walsh, Ms. Walsh has all kinds

   6     of discussions, let's assume a supervisor's involved.

   7     Let's assume she sneezes and gets a supervisor involved.

   8     What's the point?     What's the end game?

   9                 It's completely irrelevant.       You asked

 10      Ms. Kedia, what's the relevance here and she couldn't

 11      answer you and the reason she couldn't answer you is

 12      because there is no relevance to that added benefit that

 13      was provided to Peggy Cutolo that came out during the

 14      trial that she could have used in summation.

 15                  It was merely an additional basis and the case

 16      law is clear, if there is an additional basis for

 17      challenging the impeachment of a witness, it's not

 18      relevant.    It's not material.

 19                  MS. KEDIA:    Your Honor, if I may respond briefly

 20      to that.

 21                  Rodriguez makes this very clear.        The Second

 22      Circuit in Rodriguez, the assistant did exactly what the

 23      assistant is trying to do there.        He said that he elicited

 24      from the witness and in that case it wasn't a situation

 25      where the defense happened to stumble upon it during


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   1     cross-examination.     It was a situation where during the

   2     direct examination of the witness, the government brought

   3     out that the witness said, I think it was in that case the

   4     witness lied about certain things during her first proffer

   5     session with the government.

   6                The Second Circuit said, we can't know whether

   7     it was material or not, even though the defense

   8     cross-examined the witness and certainly attacked the

   9     credibility of the witness, we can't know whether the lies

 10      and whether the substance of that failure to disclose by

 11      the government was material unless we know exactly what

 12      that information was, and the Second Circuit remanded the

 13      case to the district court and said, we got to find out

 14      what the information was.

 15                 But we are missing the first point here and

 16      Mr. Goldberg keeps trying to just brush past it.           The

 17      first point is if, in fact, the government wasn't told, if

 18      Ms. Walsh wasn't told at that proffer session about the

 19      $1.65 million, as Mrs. Cutolo claims she was, that is

 20      perjury that the government failed to cure, and it had an

 21      obligation to do so.

 22                 And the obligation doesn't just arise because

 23      these three assistants sitting at the table knew or didn't

 24      know about it.     They had an obligation to go back and

 25      check whether, in fact, that witness was telling the


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   1     truth, and if she was not telling the truth about that,

   2     that is the government's burden to prove.          And the

   3     government is trying desperately not to address that

   4     issue.

   5                It keeps saying what does it matter if there is

   6     a Brady violation here.

   7                THE COURT:     No.

   8                MS. KEDIA:     That's not --

   9                THE COURT:     What they are saying is, what does

 10      it matter if there is a Giglio violation.

 11                 MS. KEDIA:     I put those in the same category,

 12      and that's fine.     We can call it either-or.

 13                 But we haven't established that that's the case.

 14      We first need to establish who was told, if anyone, in the

 15      United States Attorney's Office and when.

 16                 MR. LA RUSSO:     Your Honor, just briefly in

 17      response to Mr. Goldberg.

 18                 He says assume the supervisor was apprised or

 19      somebody in the US Attorney's Office was told.          That's the

 20      way they want to phrase it.       Let's assume no supervisor or

 21      anybody in the office was told.

 22                 Where does that leave the record?         That leaves

 23      the record possibly with two witnesses that committed

 24      material perjury during the course of the trial.

 25                 Ms. Kedia just brought up another point that we


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   1     hadn't discussed earlier, and that is on the direct

   2     examination of Peggy Cutolo, after Barbara-Jean had let

   3     the cat out of the bag, the government actually asks on

   4     direct examination about the $1.65 million and says when

   5     you first spoke with the government, did you tell the

   6     government about the money, and she answers yes.           They

   7     were eliciting information that they know is false or

   8     should have known was false.

   9                And they had, as Ms. Kedia says, an obligation

 10      to correct the wrong.      That's subornation of perjury. That

 11      is --

 12                 THE COURT:     I think that term is not applicable.

 13                 MR. LA RUSSO:     It's a harsh term, Judge, but in

 14      the course of a trial you are not thinking clearly about

 15      these issues.

 16                 I think in the course of a trial you hear about

 17      the $1.65 and, gosh.      We never knew.     Mrs. Cutolo, did you

 18      tell anybody?    Yes.   I told anybody and they accepted it.

 19                 I'm not saying they did it deliberately, but now

 20      we are in a different situation.        Now we have a chance and

 21      clearly the facts indicating it to show what happened.

 22      It's Peggy Cutolo lied about it and Agent Pontecorvo did

 23      not have the conversations he said he had with assistants

 24      about the money, that there was a cover-up here and the

 25      government has a clear obligation, I thought it would have


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   1     been done before today, to find out if, in fact, there was

   2     somebody in the government who specifically told them

   3     about this money.

   4                Judge, you can't just come in and say an

   5     assistant learned about $1.65 million and had a vague

   6     recollection about that and they were permitting a witness

   7     to keep it.    Judge, that stretch's the imagination beyond

   8     any possible believability.

   9                That's what we are having here, Judge.          We are

 10      not putting the issue the way the government says.           It's

 11      whether or not perjury had been committed and the

 12      government has condoned it or allowed it to exist.

 13                 MR. GOLDBERG:     Your Honor, Mr. LaRusso just

 14      conceded that the government raised the issue of the

 15      $1.65 million on direct.

 16                 But, putting that aside, Rodriguez is completely

 17      inapposite.    Rodriguez was a remand to determine if the

 18      material withheld or not disclosed was material.           Here we

 19      know precisely what it is that the defense wanted prior to

 20      trial.   They wanted to be informed that Mrs. Cutolo was

 21      able to keep the forfeiture, to keep the $1.65 million.

 22                 The case on point here is Rittweger where the

 23      information did come out and it was not material and they

 24      made effective use.     This is, again, an attempt by the

 25      defense to take a potential Giglio violation and blow it


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   1     up into a full-blown hearing and accuse agents and

   2     witnesses of committing perjury and to accuse prosecutors

   3     of suborning perjury.

   4                And I don't even know how to respond to that

   5     accusation, but it's clearly irrelevant and a collateral

   6     attack and immaterial --

   7                MS. KEDIA:     Your Honor --

   8                THE COURT:     Final argument, Ms. Kedia.

   9                MS. KEDIA:     I will briefly address the last

 10      argument that he made about Rittweger.

 11                 That has nothing to do with this case.          The

 12      government a week before the trial in Rittweger produced

 13      the information.     A week before the defense opened in the

 14      case, the government produced the information that was at

 15      issue.   In that case it was grand jury testimony of a

 16      witness, and the question was, was that a little too late.

 17                 The question wasn't whether the government

 18      failed to disclose information all together, whether the

 19      government, even to this day, had failed to disclose

 20      information.    That's what Rodriguez addressed.

 21                 What Mr. Goldberg just said about Rodriguez is

 22      exactly right.     In that case the issue was what was it,

 23      what was the substance of the disclosure that the

 24      government failed to provide to the defense.

 25                 MR. GOLDBERG:     Your Honor, this is Rittweger at


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   1     Westlaw page eight, probably in the stacks by now, the

   2     paragraph beginning under the circumstances of this case

   3     we conclude there is no probability that the government's

   4     late disclosure of the evidence resulted in a different

   5     outcome in the defendant Branden's case.

   6                And they go through and explain why.          Never once

   7     does the Second Circuit say that the information was

   8     disclosed prior to trial.       That's not a basis upon which

   9     the Second Circuit held that they made effective use.

 10                 They said, first and foremost, the district

 11      court admitted into evidence Allen's grand jury testimony

 12      and Agent Lavit's debriefing notes.        They read that she

 13      believed Branden did not know he was the sole signatory

 14      for all CBL insured trustee accounts.         The jury was also

 15      read excerpts of the notes taken by Agent Lavit during

 16      proffer interviews of Allen including statements that

 17      Branden was never told that he was not a signatory on

 18      CBL's accounts.

 19                 Now, not once at this point has the Second

 20      Circuit mentioned that the information was provided before

 21      the trial started.

 22                 MS. KEDIA:     If I may borrow the case from

 23      Mr. Goldberg, I can show him where the Second Circuit

 24      mentioned the information was provided prior to trial.

 25                 MR. GOLDBERG:     It was, but this was not the


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   1     basis for the Second Circuit's holding.

   2                 The exculpatory information was therefore put

   3     before the jury and Branden was able to assimilate the

   4     materials into his case for its effective use at trial

   5     citing Coppa, C-O-P-P-A, and that was the decision.

   6                 We have the exact same reasoning and situation.

   7     Whether the information was provided to the defense before

   8     trial or whether the defense, quote-unquote, stumbled upon

   9     it during cross-examination, the information was put

 10      before the jury, and the defense in this case, if they

 11      wanted to, was able to make effective use of it.

 12                  They obviously didn't deem it material because

 13      they didn't mention it during their summation.

 14                  MS. KEDIA:    Judge, we still don't know what the

 15      information was.

 16                  That's the difference.

 17                  MR. GOLDBERG:    The information --

 18                  MS. KEDIA:    To this moment, we still don't know

 19      the substance of the discussions that were had, if any,

 20      about this $1.65 million.

 21                  When did they have it?      Did they have it at the

 22      proffer session like Peggy Cutolo said they did.           If they

 23      didn't, that's perjury by a witness that the government

 24      had an obligation to cure.       We haven't answered that

 25      question.    We haven't even gotten anywhere near where


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   1     Rittweger gets.

   2                  The information was fully disclosed, even the

   3     portion Mr. Goldberg just read to the court, the

   4     information was fully submitted to the jury.          They were

   5     given every document that the government handed to the

   6     defense a week before trial.       They were given the full

   7     grand jury testimony of the witness, and they were given

   8     the notes that the government handed the defense before

   9     the trial.

 10                   And, more than likely, it doesn't really say so

 11      in this case, but more than likely they were given this

 12      material, which would ordinarily not be given to the jury.

 13      You don't ordinarily hand to the jury grand jury testimony

 14      of a witness, but it was probably done in an effort to

 15      make the case fair because the defense got it at the last

 16      minute in that particular case.

 17                   But the point is, in that case, it was fully

 18      submitted.    It was fully disclosed during the trial.          They

 19      knew exactly what they were dealing with.          We don't here.

 20      That is the point that we are trying to make.

 21                   We don't know if, in fact, Peggy Cutolo was

 22      telling the truth or not at this moment about whether she

 23      disclosed the $1.65 million to the government at that

 24      proffer session or not.

 25                   THE COURT:   What difference does it make if she


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   1     told the government at the proffer session or if she told

   2     the government an hour before she hit the stand?

   3                MS. KEDIA:     It's perjury.

   4                THE COURT:     How is it perjury?

   5                MS. KEDIA:     She claimed that she told the

   6     government at the proffer session in 2001, specifically

   7     named Assistant United States Attorney Amy Walsh that she

   8     had told them at that time, and that she was permitted to

   9     keep the money.

 10                 If that wasn't the case, your Honor, that's

 11      perjury.

 12                 THE COURT:     So for the sake of your argument,

 13      she commits perjury.

 14                 How does that affect the result in this trial,

 15      the conviction?

 16                 MS. KEDIA:     It's virtually automatic according

 17      to the Second Circuit.

 18                 If a witness commits perjury and the government

 19      fails to cure the perjury and obviously the government has

 20      an obligation to know everything that every assistant in

 21      the case knew or didn't know before it, whether these

 22      three prosecutors knew or not, that's failing to cure

 23      perjury and reversal is automatic.

 24                 MR. GOLDBERG:     There's no evidence to support

 25      the suggestion that she lied on that point.


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   1                I'm sure Ms. Kedia will point to the interview

   2     notes that it's not in there.       It wouldn't be the first

   3     time that a witness said something in a meeting and it

   4     wasn't put down.     But Ms. Kedia talks about information.

   5     I just quoted from Rittweger and I talked about making

   6     effective use of the information.

   7                Ms. Kedia says we don't have the information.

   8     Her April 21st letter says, in spite of the witness's

   9     claims that the government had been informed about the

 10      cash, and that they were not required to forfeit the

 11      money, nor were they required to pay taxes on it, the

 12      government failed to provide the defense with this

 13      information as it was most certainly required to do under

 14      Brady, Giglio, if, in fact, such information was known to

 15      it.

 16                 What Ms. Kedia is doing is, she's changing her

 17      position of what information she wants.         Initially in her

 18      papers she wants to know whether the government failed

 19      under its obligations to inform the defense about simply

 20      whether Ms. Cutolo was allowed to keep or pay taxes on

 21      that money.

 22                 She has that information, faced with the legal

 23      argument about immateriality and effective use, she's now

 24      saying, well, I don't want that information.          I want more

 25      information.    I want full-blown analysis of who made what


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   1     decision.    I want internal US Attorney's Office documents.

   2     We really need to get to the bottom of this.

   3                 What's the point?     The point is that she had the

   4     information she needed, a benefit apparently conferred on

   5     a witness, and she could have used it.         I find myself now

   6     rehashing my arguments, but they are so relevant.

   7                 THE COURT:    Is there anything else?

   8                 MS. KEDIA:    Your Honor, if there are any

   9     internal US Attorney's Office documents that should have

 10      been turned over to the defense prior to the trial, why

 11      isn't the government producing them now?

 12                  Maybe we don't need to get to hearings with the

 13      witnesses and everything if, in fact, there is such

 14      documentation that exists?       It's because we expect it

 15      doesn't exist, otherwise it would have been provided, at a

 16      minimum, to the court, if not to the defense by this point

 17      in time.

 18                  If no such documentation exists, then we need

 19      the testimony of these witnesses to confirm or deny

 20      whether they were actually told, and when and what was the

 21      substance of the agreement, if any, made with

 22      Peggy Cutolo.

 23                  MR. GOLDBERG:    Judge, Rittweger and Diaz speak

 24      to that.

 25                  THE COURT:    It may be, Mr. Goldberg, but at this


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   1     point I want information from these witnesses.          An

   2     affidavit should be sufficient, I would think.

   3                I want you to do a search to see when, if there

   4     has been any notation and approval of this process.

   5                MR. GOLDBERG:     What we'll do, Judge, is a more

   6     complete interview of Ms. Walsh, and if there are

   7     documents readily available we'll try to find them.

   8                THE COURT:     And that would include any

   9     additional information that Agent Pontecorvo may have had.

 10                 MR. GOLDBERG:     Sure.

 11                 THE COURT:     I don't think we need Ms. Mayer.

 12                 MS. KEDIA:     I don't think we need her at this

 13      point, certainly, your Honor.

 14                 MR. LA RUSSO:     No.

 15                 MR. GOLDBERG:     But I do want the court, of

 16      course, even after that to keep in mind these cases --

 17                 THE COURT:     I'm aware of the cases, Rittweger

 18      and also Rodriguez.

 19                 MR. GOLDBERG:     And Diaz.

 20                 THE COURT:     And Diaz.

 21                 I'm also aware that the US Attorney's Office has

 22      a pretty hefty obligation to abide by Brady and Giglio and

 23      it may turn out to be a big waste of time in the end.

 24                 But I'd rather have the hearing now than two

 25      years from now have it remanded.


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                             Official Court Reporter
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                                                                           37

   1                 MR. GOLDBERG:    We'll try to find information,

   2     Judge.

   3                 THE COURT:    Thank you.

   4                 What date are we looking at to continue this

   5     hearing?

   6                 MR. GOLDBERG:    Your Honor --

   7                 MR. LA RUSSO:    I have no more vacation.

   8                 So I'm free, Judge.

   9                 MR. GOLDBERG:    Your Honor, we'd like some time

 10      to look into this.

 11                  I know Mr. Buretta, he's been on vacation and

 12      he's only recently back, he's available the second week in

 13      July.    If we could do it then, that would be best for the

 14      government.

 15                  But whatever is best for the court, of course.

 16                  THE COURT:    It may not require your actual

 17      presence if we can get it done by affidavit.

 18                  MR. GOLDBERG:    Sure.

 19                  MS. KEDIA:    I would imagine that since we filed

 20      the letter on April 21st, two months ago, that the

 21      government has done some investigation into this.

 22                  MR. GOLDBERG:    Your Honor, if we could have two

 23      weeks to make a submission.

 24                  We'll do a submission within two weeks.

 25                  THE COURT:    Let me just check.


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   1                (Whereupon, there was a pause in the

   2     proceedings.)

   3                THE COURT:     Two weeks you are going to do your

   4     submission and what do you need?

   5                MS. KEDIA:     Judge, if we could be back here in

   6     two weeks that's perfectly fine, and we could see what it

   7     is the government has to present.

   8                Did your Honor want argument on the Rule 29

   9     motions?   Obviously there are various other outstanding

 10      posttrial motions.

 11                 THE COURT:     Yes.

 12                 MR. GOLDBERG:     Your Honor, I don't know if there

 13      is a need right now -- your Honor just said there may not

 14      be a need to come back.

 15                 If we make our submission, if your Honor wants

 16      to hear us further, I think we can set a date at that

 17      time.

 18                 THE COURT:     Why don't we see what the government

 19      has in two weeks.

 20                 Then I'll give you a determination as to whether

 21      or not we will have a hearing with live witnesses, not

 22      have a hearing, and go on for oral argument on the Rule 29

 23      and 33 motions.

 24                 MS. KEDIA:     Very well, your Honor.

 25                 THE COURT:     If that's even necessary.


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   1                  MR. LA RUSSO:   Very well, your Honor.

   2                  THE COURT:   The papers are quite extensive.

   3                  MS. KEDIA:   Very well.

   4                  MR. GOLDBERG:   Is there a time, your Honor?

   5                  THE COURT:   Two weeks from today, what does that

   6     put us at?

   7                  THE CLERK:   June 30th for the submission of

   8     papers.

   9                  THE COURT:   The 30th for the submission of

 10      papers and I will make a decision after that and give you

 11      a new date.

 12                   Both sides don't have any planned vacations in

 13      the next month and a half?       Ms. Kedia, you didn't get to

 14      go on vacation, did you?

 15                   MS. KEDIA:   No, your Honor.

 16                   THE COURT:   All right.

 17                   I'll hear from you folks, and I'm sure I'll get

 18      a reply after the government makes it submission from the

 19      defense.

 20                   MR. GOLDBERG:   Thank you, your Honor.

 21                   MR. LA RUSSO:   Thank you, your Honor.

 22                   THE COURT:   I'll make a determination as quickly

 23      as I can because this case is rapidly aging and, although

 24      it's not statutory or constitutional, I think the public

 25      is entitled to have sentences go forward, if there is


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   1     going to be a sentence in this case, absent a new trial.

   2                Have a nice day.

   3                MR. GOLDBERG:     Thank you, your Honor.

   4                MS. KEDIA:     Thank you, your Honor.

   5                (The matter concluded.)

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